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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


In re UNDER ARMOUR SECURITIES                  )
LITIGATION                                     )
                                               )
                                               )
This Document Relates To:                      )   Civil No. RDB-17-388
                                               )
       ALL ACTIONS.                            )
                                               )

       NOTICE OF SERVICE OF STATEMENT NOTING DEATH OF A PARTY
         ON THE PERSONAL REPRESENTATIVE FOR THE ESTATE OF
                    DEFENDANT ANTHONY W. DEERING

       I HEREBY CERTIFY that on April 20, 2018, pursuant to Federal Rule of Civil

Procedure 4 and 25 and Maryland Rule 2-121(a), a copy of the previously filed “Statement

Noting Death of A Party” (ECF No. 59) was served by certified mail, restricted delivery, on the

Personal Representative for the Estate of Defendant Anthony W. Deering:

              Heather D. Crosby
              Matheys Lane Capital Management L.P.
              One West Exchange Street, 4th Floor
              Providence, Rhode Island 02903

A copy of the materials delivered to Ms. Crosby and proof of delivery is attached as Exhibit A.

                                            Respectfully submitted,
DATED: May 2, 2018


                                            By: _____________/s/_______________________
                                                    G. Stewart Webb, Jr. (Bar No. 00828)

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                                            750 E. Pratt Street, Suite 900
                                            Baltimore, MD 21202
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 2, 2018, I caused the foregoing Notice of Service of

Statement Noting Death of a Party on the Personal Representative for the Estate of Defendant

Anthony W. Deering to be electronically filed with the Clerk of the Court and served on all

parties of record via the CM/ECF electronic filing system.



                                                           /s/
                                                    G. Stewart Webb, Jr. (Bar No. 00828)




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